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ZACHARY T. CARLYLE
carlylez@sec.gov
TERRY R. MILLER
millerte@sec.gov
SECURITIES AND EXCHANGE COMMISSION
1961 Stout Street, 17th Floor
Denver, Colorado 80294
(303) 844-1000

                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                17-cv-4179-DLC
COMMISSION,

                            Plaintiff,
                                                       ECFCASE
     - against -

ALPINE SECURITIES CORPORATION,

                            Defendant.


         PLAINTIFF UNITED STATES SECURITIES AND EXCHANGE
       COMMISSION'S RULE 56.1 STATEMENT OF MATERIAL FACTS IN
       SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      Index of Exhibits

1. FinCEN, Guidance on Preparing a Complete & Sufficient Suspicious Activity Report
   Narrative (November 2003) ("Preparing a Complete & Sufficient SAR Narrative")

2. FinCEN, The SAR Activity Review, Trends Tips & Issues, Issue 22 (October 2012) ("SAR
   Activity Review Issue 22")

3. FinCEN, The SAR Activity Review: Trends Tips & Issues, Issue 15 (May 2009) ("SAR
   Activity Review Issue 15")

4. Excerpts ofWSP Manual, Alpine Securities Corporation (Jan. 05, 2012) ("WSP
   Manual")

5. Email from Leia Farmer dated August 30, 2012, with two attachments titled "Compliance
   Training - Minimum Items for SAR Inclusion" and "Keys to Writing a Complete &
   Sufficient SAR Narrative".

6. FINRA Report of Examination of Alpine Securities Corporation dated September 28,
   2012

7. In re Wells Fargo Advisors, LLC, Rel No. 82054 (Nov. 13, 2017) (settled order)

8. FinCEN, Form 101-Suspisious Activity Report by the Securities and Futures Industries,
   effective May 2004 ("Form 10 l ").

9. FinCEN, Suspicious Activity Report (FinCEN SAR) Electronic Filing Requirements
   (October 2012) ("Electronic Filing Requirements")

10. FinCEN, Suggestions for Addressing Common Errors Noted in Suspicious Activity
    Reporting (Oct. 10, 2007) ("Suggestions for Addressing Common Errors")

11. NASD, Special Notice to Members 02-21, NASD Provides Guidance to Member Firms
    Concerning Anti-Money Laundering Compliance Programs Required by Federal Law
    (April 2002) ("Notice 02-21 ")

12. FINRA, Regulatory Notice 09-05, Unregistered Resale ofRestricted Securities (January
    2009) ("Notice 09-05")

13. Updated Small Firm Template Anti-Money Laundering (AML) Program at 34-35
    (updated as of January 1, 2010) ("Small Firm Template")

14. Sample SAR A

15. Sample SAR B
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16. Sample SAR C

17. Sample SAR D

18. SAR D Support File

19. Sample SARE

20. SARE Support File

21. Sample SAR F

22. SAR F Support File

23. FIN-2006-G0 14, Potential Money Laundering Risks Related to Shell Companies (Nov. 9,
    2006) ("Potential Money Laundering Risks")

24. SAR C Support File

25. SAR A Support File

26. Sample SAR G

27. SAR G Support File

28. Sample SAR H

29. SAR H Support File

30. Sample SAR J

31. SAR J Support File

32. Sample SARK

33. SARK Support File

34. Sample SAR L

35. SAR L Support File

36. Letter ofAcceptance, Waiver, and Consent, In re Brown Brothers Harriman & Co., No.
    2013035821401,(Feb. 4,2014)

37. Sample SAR M

38. SAR M Support File

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39. Sample SAR N

40. SAR N Support File

41. Sample SARP

42. SARP Support File

43. Customer A Liquidations

44. Customer A SAR 1

45. Customer A SAR 2

46. Customer A SAR 3

47. Customer A SAR 4

48. Customer A SAR 5

49. Customer B Liquidations

50. Customer B SAR 1

51. Customer B SAR 2

52. Customer B SAR 3

53. Customer B SAR 4]

54. Customer B SAR 5

55. Customer C Liquidations

56. Customer C SAR 1

57. Customer C SAR 2

58. Late SAR 1

59. Late SAR 2

60. Late SAR 3

61. Late SAR 4

62. Late SAR 5

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63. Missing File SAR 1

64. Missing File SAR 2

65. Missing File SAR 3

66. Missing File SAR 4

67. Missing File SAR 5




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       Plaintiff United States Securities and Exchange Commission (the "Commission") submits

this statement of material facts pursuant to Rule 56.1 and in support of the Commission's Motion

for Partial Summary Judgment.

        1.     SARs have been instrumental in the investigations of major money laundering or

terrorist financing and other criminal cases. FinCEN, Guidance on Preparing a Complete &

Sufficient Suspicious Activity Report Narrative at 1 (November 2003) ("Preparing a Complete &

Sufficient SAR Narrative"); attached as Ex 1. SARs are also used to investigate fraud,

embezzlement, and tax violations. FinCEN, The SAR Activity Review, Trends Tips & Issues,

Issue 22 at 13-15 (October 2012) ("SAR Activity Review Issue 22"), attached as Ex. 2.

       2.      SARs also play a critical role in the investigation of securities law violations.

FinCEN, The SAR Activity Review: Trends Tips & Issues, Issue 15 at 26-30 (May 2009) ("SAR

Activity Review Issue 15"), attached as Ex. 3.

       3.      According to FinCEN, the "failure to adequately describe the factors making the

transaction or activity suspicious undermines the very purpose of the SAR and lessens its

usefulness to law enforcement." Ex. 1 at 1 (Preparing a Complete & Sufficient SAR Narrative);

see also Ex. 9 at 110 (FinCEN Suspicious Activity Report (FinCEN SAR) Electronic Filing

Requirements (October 2012) ("Electronic Filing Requirements").

       4.      Alpine's written procedures and written training materials incorporated the robust

body of guidance published by FinCEN and FINRA that clarifies the requirement that SAR filers

provide complete descriptions of suspicious transactions. See Ex. 4 at 40 (excerpts from Alpine's

"WSP Manual"); Ex. 5 (Alpine training material that incorporates a presentation published by

FinCEN titled Keys to Writing a Complete and Sufficient SAR Narrative). Al pine's training
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materials incorporate FinCEN guidance on the five essential elements published by FinCEN.

Ex. 5 at SEC-ALPINE-E-0687773 ("The 5 'W's' oflnformation").

       5.      In September 2012, FINRA advised Alpine of its findings that the narratives for

all 823 SARs reviewed by FINRA were substantively inadequate because they failed to fully

describe why the activity was suspicious. Ex. 6 at 3-5 (FINRA Report of Examination of Alpine

Securities Corporation dated September 28, 2012).

       6.      Attached as Exhibit 7 is a copy of a settled order in In re Wells Fargo Advisors,

LLC, Rel No. 82054 (Nov. 13, 2017) (settled order).

       7.      Attached as Exhibit 8 is a copy ofFinCEN Form 101-Suspisious Activity Report

by the Securities and Futures Industries, effective May 2004 ("Form 101"). Attached as Exhibit 9

is a copy of FinCEN Suspicious Activity Report (FinCEN SAR) Electronic Filing Requirements

(October 2012) ("Electronic Filing Requirements"), which applies to FinCEN's electronic SAR

form. Both documents state that the narrative section of the report is "critical" and must be

completed with care so investigators can understand the described activity and its possible

criminal nature. Ex. 8 at part VI (Form 101); Ex. 9 at 110 (Electronic Filing Requirements).

       8.      Form 101, which was required during the relevant period until 2013, required the

filer to provide in the narrative section a "clear" and "complete" description of the suspicious

activity, including what is "unusual, irregular, or suspicious about the transaction(s), using the

checklist below as a guide .... " Ex. 8 at part VI (Form 101). The form also directed filers to a

FinCEN website with tips on SAR form preparation and filing. Id. "Form 111," which was

required from 2013 through the end of the relevant period, provided similar instructions and a

similar checklist. Ex. 9 at 110-112 (Electronic Filing Requirements).


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       9.      The checklists in the required SAR form instructions directed Alpine to describe

in the SAR narrative the conduct that raised suspicion, indicate whether any information has

been excluded from the report, indicate whether there is any related litigation, and describe

foreign banks, foreign nationals and the transfer of funds to or from a foreign country involved in

the transaction. Ex. 8 at Part VI (Form 101); Ex. 9 at 110 (Electronic Filing Requirements).

       10.     FinCEN's guidance instructs broker-dealers like Alpine to "identify the five

essential elements of information-who? what? when? where? and why?-ofthe suspicious

activity being reported" and to include "a summary of the 'red flags' and suspicious patterns of

activity that initiated the SAR." Suggestions for Addressing Common Errors Noted in Suspicious

Activity Reporting (Oct. 10, 2007) at p. 2 & n.3 (citing Preparing a Complete & Sufficient SAR

Narrative at 3) ("Suggestions for Addressing Common Errors"), attached hereto as Ex. 10.

According to FinCEN, the "why?" element requires broker-dealers to answer the question "Why

does the filer think the activity is suspicious?" Ex. 1 at 4 (Preparing a Complete & Sufficient

SAR Narrative); see also Ex. 2 at 40 (SAR Activity Review Issue 22).

       11.     In 2002, N ASD published examples of red flags relevant to broker-dealers.

NASD Special Notice to Members 02-21, NASD Provides Guidance to Member Firms

Concerning Anti-Money Laundering Compliance Programs Required by Federal Law at 10-11

( April 2002) ("Notice 02-21 "), attached as Ex. 11.

       12.     In January 2009, FINRA published a set ofred flags for broker-dealers that

included shell companies and issuers without current or complete SEC filings. FINRA

Regulatory Notice 09-05, Unregistered Resale ofRestricted Securities at 3-4 (January 2009)

("Notice 09-05"), attached as Ex. 12.


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          13.   In 2010, FINRA published a template for AML programs that identified red flags

for broker dealers, including red flags associated with transactions involving penny stock

companies in FINRA's Updated Small Firm Template Anti-Money Laundering (AML) Program

at 34-35 (updated as of January 1, 2010) ("Small Firm Template"), attached as Ex. 13.

          14.   In May 2009, FinCEN published a set of red flags relevant to potentially

suspicious transactions involving low-priced securities known as "penny stocks" that included

large deposits and transfers of thinly-traded securities. Ex. 3 at 24 (SAR Activity Review Issue

15).

          15.   Alpine's Written Supervisory Procedures contains a list ofred flags that mirrors

the lists published by FinCEN and FINRA. Ex 4 at 40 (WSP).

          16.   Alpine filed Sample SAR A and prepared the content that appears in the narrative

section of the SAR. Ex. 14 at 4 ("Sample SAR A").

          17.   Alpine filed Sample SAR B and prepared the content that appears in the narrative

section of the SAR. Ex. 15 at 8 ("Sample SAR B").

          18.   Alpine filed Sample SAR C and prepared the content that appears in the narrative

section of the SAR. Ex. 16 at 4 ("Sample SAR C").

          19.   NASD published a notice to members stating that the fact that a customer or

person associated with the customer has a questionable background or is the subject criminal,

civil, or regulatory violations is a recognized red flag of suspicious activity. Ex. 11 at 10 (Notice

02-21).

          20.   FinCEN published guidance stating that, once potentially suspicious activity is

identified, a broker-dealer must "use readily available public information about a customer's


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criminal or regulatory history when evaluating potentially suspicious activity" for the SAR form

required for broker-dealers. Ex. 3 at 24 (SAR Activity Review Issue 15).

        21.    Alpine incorporated a customer's criminal and regulatory history as a red flag into

its own written procedures. Ex. 4 at 40 ("WSP Manual"). Alpine submits SARs with a narrative

section stating that "the authorized signer for [the customer] is currently the subject of an

ongoing SEC investigation" or that the "authorized signer for [the customer] has been the subject

ofrecent regulatory action(s). For this reason this deposit may also be suspicious." Ex. 57 at 8;

Ex. 52 at 8.

        22.    Alpine filed Sample SAR D and prepared the content that appears in the narrative

section of the SAR. Ex. 17 at 4 ("Sample SAR D").

        23.    The support file for Sample SAR D contains screenshots of Alpine's searches on

the SEC website dated September 29, 2011, which reveal ongoing litigation. Ex. 18 at

ALPINE00165141-42 ("SAR D Support File").

        24.    Alpine filed Sample SAR E and prepared the content that appears in the narrative

section of the SAR. Ex. 19 at 4 ("Sample SARE").

        25.    Alpine received a letter dated July 23, 2012 that the customer in SARE had a

criminal background involving bank fraud, mail fraud, and wire fraud. Ex. 20 at SEC-ALPINE-

E-1338380 ("SARE Support File").

        26.    Alpine filed Sample SAR F and prepared the content that appears in the narrative

section of the SAR. Ex. 21 at 8 ("Sample SAR F").




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       27.     Alpine's records show that the customer in SAR F had regulatory history with the

SEC for misrepresentation and misappropriation of client funds. Ex. 22 at

ALPINE_ SUPP _PROD_ SEC 00027703 ("SAR F Support File").

       28.     Shell companies are common tools for money laundering and other financial

crimes. FIN-2006-G014, Potential Money Laundering Risks Related to Shell Companies at 2

(Nov. 9, 2006) ("Potential Money Laundering Risks"), attached as Ex. 23. The term shell

company "refers to non-publicly traded corporations, limited liability companies (LLCs ), and

trusts that typically have no physical presence (other than a mailing address) and generate little

to no independent economic value." Id. at I.

       29.     FinCEN guidance states that "[ e]xamples of common patterns of suspicious

activity are ... suspected shell entities." Ex. I at 5 (Preparing a Complete & Sufficient SAR

Narrative). FinCEN also directs financial institutions to include identification of shell companies

in SARs. Ex. 23 at 5 (Potential Money Laundering Risks). FINRA states that that a red flag for

broker-dealers exists in stock transactions where the issuer was a shell company when it issued

the shares. Ex. 12 at 3 (Notice 09-05).

       30.     Chapter 9 of Alpine WSP, which concerns Alpine's Anti-Money Laundering

(AML) Program, includes a subchapter on shell companies that cites FinCEN's Potential Money

Laundering Risks and reproduces a portion of the text. Ex. 4 at 172.

       31.     Alpine uses standardized "Deposited Securities Checklist," which is included in

many of the SAR support files created by Alpine. These forms contain a section titled "Shell

Company" that requires verification of whether an issuer of the deposited stock is or ever was a

shell company. E.g. Ex. 18 at ALPINE00165090 ("SAR D Support File").


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       32.     FinCEN instructs that a red flag exists where the "issuer's SEC filings are not

current, are incomplete, or nonexistent." Ex. 12 at 4 (Notice 09-05).

       33.     The support file for Sample SAR C contains a handwritten note stating that the

issuer of the deposited stock was a shell company "w/in last year." Ex. 24 at ALPINE00220209

("SAR C Support File").

       34.     The support file for Sample SAR A states that the issuer of the deposited stock

was a shell company. Ex. 25 at SEC-ALPINE-E-1690740 (" SAR A Support File").

       35.     Alpine filed Sample SAR G and prepared the content that appears in the narrative

section of the SAR. Ex. 26 at 4 ("Sample SAR G").

       36.     The support file for Sample SAR G states that with respect to the issuer, "SEC

reporting, not current in filings - no form 10 information filed since period ending ... , no

company website found." Ex. 27 at ALPINE0243435 (" SAR G Support File"). The SAR G

Support File also contains a screenshot of the OTC Markets website for the issuer that contains a

stop sign signal. Id. at ALPINE00243460.

       37.     NASD states in Notice 02-21 that transactions in penny stocks with no apparent

reason or in conjunction with other red flags are suspicious because they have been used in

connection with fraudulent schemes. Ex. 11 at 11 (Notice 02-21). Alpine's WSP Manual

includes the same language in a list ofred flags . Ex. 4 at 41 (WSP Manual).

       38.     Alpine filed Sample SAR Hand prepared the content that appears in the narrative

section of the SAR. Ex. 28 at 8 (" Sample SAR H" ).

       39.     The support file for SAR H contains a Deposited Securities Checklist, which

contains a section titled "Current Information Available" that pertains to the issuer. This section


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states: "latest PR as of 07/09/12 per company website (Company secured potable water supply. 1

newsletter on 07/30/ 13 -per stokpromoters.com [sic] - does not appear to be related to client.").

Ex 29 at ALPINE0229540 ("SAR H Support File"). The SAR H Support File also contains one

page of a four page printed copy of a stock promotion search that stock promoter "Sizzling Stock

Picks" received compensation to advertise the stock. Id. at ALPINE00229634 (SAR H Support

File).

         40.     Alpine filed Sample SAR J and prepared the content that appears in the narrative

section of the SAR. Ex. 30 at 4 ("Sample SAR J").

         41.     The support file for SAR J contains a Deposited Securities Checklist, which

contains a section titled "Current Information Available" that pertains to the issuer. This section

states that                                                         Ex 31 at ALPINE00180431

("SAR J Support File"). The SAR J Support File also contains a copy of

                                                               Id. at ALPINE00180538 (SAR J

Support File).

         42.     The SAR G Support File contains a printed version of a Google search results, the

second of which links to an article promoting the issuer. Ex. 27 at ALPINE00243476 (SAR G

Support File).

         43.     In the Small Firm Template, FINRA provides a list of red flags, one of which is

where a customer "[p ]rovides unusual or suspicious identification documents that cannot be

readily verified." Ex. 13 at 33 (Small Firm Template). In Notice 09-05, FINRA includes in the

list ofred flags the facts that an issuer name changes or has nonexistent SEC filings. Ex. 12 at 4

(09-05 Notice).


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       44.     Alpine filed Sample SAR K and prepared the content that appears in the narrative

section of the SAR. Ex. 32 at 8 ("Sample SARK").

       45.     The support file for Sample SARK states that issuer's website "is not currently

functioning." Ex. 33 at ALPINE00235733 ("SARK Support File").

       46.     Alpine filed Sample SAR L and prepared the content that appears in the narrative

section of the SAR. Ex. 34 at 8 ("Sample SAR L").

       47.     The support file for Sample SAR L contains a document showing that issuer

corporation was in default status in its state of incorporation at the time of the deposit. Ex. 35 at

ALPINE00243156-57 ("SAR L Support File").

       48.     A letter of acceptance made available by FINRA states a red flag indicating

potential manipulation of a penny stock is where trading activity represents a significant

percentage of the overall trading volume in a stock on a given day. Such activity could signify

manipulative measures such as wash trades or pre-arranged trades to create the appearance of

unrealistic demand for securities. Ex. 36 at 8, Letter ofAcceptance, Waiver, and Consent, In re

Brown Brothers Harriman & Co., No. 2013035821401 (Feb. 4, 2014).

       49.     In SAR Activity Review Issue 15, FinCEN provides a list of red flags associated

with penny-stocks, which includes a "substantial deposit, transfer or journal of very low-priced

and thinly traded securities." Ex. 3 at 24 ( emphasis added) (SAR Activity Review Issue 15).

       50.     Alpine filed Sample SAR M and prepared the content that appears in the narrative

section of the SAR. Ex. 37 at 8 ("Sample SAR M"). The SAR reports a deposit of 5,954,252

shares. Id. In the support file for Sample SAR M contains a "Deposited Securities Request




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Form" indicating that the average trading volume over the last three months was 59,108 shares

per day. Ex. 38 at ALPINE00246293 ("SAR M Support File").

       51.     Alpine filed Sample SAR N and prepared the content that appears in the narrative

section of the SAR. Ex. 39 at 8 ("Sample SAR N"). The SAR reports a deposit of 65,000,000

shares. Id. The support file for Sample SAR N contains multiple pages with handwritten notes of

"Low Volume" and states that the volume of the deposited stock was 101,100 per day. Ex. 40 at

ALPINE00267609 (Volume of 101,100 and note of"low volume"), ALPINE00267656 ("low

volume"); ALPINE00267657 ("low volume") ("SAR N Support File").

       52.     Alpine filed Sample SARP and prepared the content that appears in the narrative

section of the SAR. Ex. 41 at 8 ("Sample SARP"). The SAR reports a deposit of 500,000 shares.

Id. The support file for Sample SARP states that the daily volume for the stock described in

SARP is 10,971. Ex. 42 at ALPINE00265096 ("SARP Support File")

       53.     FinCEN's required SAR forms instruct broker-dealers to indicate whether the

suspicious transaction involves foreign nationals, foreign currency, foreign accounts, and transfer

of funds to a foreign country together with related information for each of these facts. Ex. 8

(Instructions to Narrative items 1, o, p, and q); Ex. 9 at 111-112 (Electronic Filing Requirements).

       54.     SAR guidance also instructs Alpine to indicate involvement of foreign individuals

or entities: "Filers should also specify whether the activity involved a foreign jurisdiction, such

as funds wired overseas, and the foreign jurisdiction and/or financial institution involved, as well

as any account numbers associated with the subject of the suspect transaction(s)." Ex. 2 at 40

(SAR Activity Review Issue 22).




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        55.       FinCEN directs broker-dealers to use the SAR narrative to "[s ]pecify if the

suspected activity or transaction( s) involved a foreign jurisdiction. If so, provide the name of the

foreign jurisdiction, financial institution, address and any account numbers involved in, or

affiliated with the suspected activity or transaction(s)." Ex. 1 at 4 (Preparing a Complete &

Sufficient SAR Narrative); see also id. at 5 ("Examples of common patterns of suspicious activity

are ... beneficiaries maintaining accounts at foreign banks that have been subjects of previous

SAR filings.").

        56.       Alpine stated in its training materials that, at a minimum, "if [a transaction]

involves a foreign jurisdiction, note this (including any identifiers concerning the transaction,

name of jurisdiction, financial institution, address, account numbers, etc.)." Ex. 5 at SEC-

ALPINE-E-0667765.

        57.       Alpine reported in Sample SAR N the fact that a customer is a foreign broker-

dealer. Ex. 39 at 8 (Sample SAR N).

        58.       Throughout the relevant period, the Bahamas was by identified by the United

States Department of State as a Jurisdiction of Primary Concern for Money Laundering and

Financial Crimes. See Bureau Of International Narcotics And Law Enforcement Affairs, 2011

International Narcotics Control Strategy Report (INCSR) (Mar.3, 2011)

https://www.state.gov/j/inl/rls/nrcrpt/201 1/vol2/156374.htm#bahamas.

        59.       Throughout the relevant period, Belize was by identified by the United States

Department of State as a Jurisdiction of Primary Concern for Money Laundering and Financial

Crimes. See Bureau Oflnternational Narcotics And Law Enforcement Affairs, 2012




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International Narcotics Control Strategy Report (INCSR) (Mar. 7, 2012)

https ://www.state.gov/j/inl/rls/nrcrpt/2012/vol2/184115.htm#Belize

        60.     The SAR A Support File states that one beneficial owner has and address in

Belize and that Belize is its jurisdiction of incorporation, Ex. 25 at SEC-ALPINE-E-1690753

(SAR A Support File); one beneficial owner has an address in China and Belize is its jurisdiction

of incorporation, id. at SEC-ALPINE-E-1690755; and another beneficial owner has an address in

Belize and Belize is its jurisdiction of incorporation, id. at SEC-ALPINE-E-1690757.

        61.     The support file for Sample SAR H indicates that Alpine's customer acquired the

underlying shares from a Bermuda entity by transferring funds to a Bermuda bank account.

Ex. 29 at ALPINE00229540 (customer acquired shares from Whalehaven); ALPINE 00229572

(Whalehaven received payment in a Bermuda bank account) (SAR H Support File).

        62.     FinCEN guidance identified transactions involving penny stocks that raise red

flags of suspicious activity, including the "systematic sale of ... low priced securities shortly

after being deposited, transferred or journaled into [an] account." Ex. 3 at 24 (SAR Activity

Review Issue 15). FinCEN instructions direct that a suspicious liquidation following the filing of

a SAR triggers an obligation to file a new SAR and/or a continuing report. Ex. 9 at 84 ("A

continuing report should be filed on suspicious activity that continues after an initial FinCEN

SAR is filed.").

        63.     The following table shows transactions involving Customer A and the securities

of Company A:

                                                SAR
              Deposited         Deposit                    Liquidated     Liquidation
 Date                                         Filed on                                     Exhibit
               Shares            Value                       Shares         Value
                                              Deposit
2/07/1 2      6,200,000         $58,900                                                       44

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                                        SAR
             Deposited     Deposit                Liquidated   Liquidation
 Date                                 Filed on                               Exhibit
              Shares       Value                    Shares        Value
                                      Deposit
2/24/12                                             90,000     $10,179.00      44
2/27/12      6,200,000     $62,000                                             45
2/27/12                                            394,601     $6,731.89       43
2/28/12                                            400,000     $5,940.00       43
2/29/12                                           1,403,000    $22,602.33      43
3/01/12                                            651,000     $10,448.55      43
                                      SAR filed                                44
3/01/12                                on 2/7
                                       deposit
3/02/12                                            746,749     $12,172.01      43
3/05/12                                           2,600,000    $57,122.00      43
3/06/12                                           1,334,183    $36,970.21      43
3/06/12                                           1,000,000    $25,640.00      43
3/09/12                                            709,151     $10,630.17      43
3/14/12                                            268,561      $5,586.07      43
3/19/12                                            449,226     $10,493.92      43
                                      SAR filed                                45
3/29/12                                on 2/27
                                       deposit
4/02/12      8,000,000     $180,000                                            46
                                      SAR filed                                46
4/16/12                                on 4/2
                                       deposit
4/19/12                                            519,243      $9,472.03      43
4/20/12                                            347,382      $6,687.10      43
4/26/12      6,200,000     $117,800                                            47
5/17/12                                           2,876,100    $48,260.96      43
                                      SAR filed                                47
5/25/12                                on 4/26
                                       deposit
6/8/12                                             800,000     $7,920.00       43
7/27/12                                            920,000     $6,256.00       43
 8/6/12                                           1,300,000    $6,565.00       43
8/17/12                                           1,865,700    $16,753.99      43
                                      SAR filed                                48
9/11/12      11,120,000    $88,960     on 9/11
                                       deposit
9/20/12                                            571,000      $5,595.80      43



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        64.    The following table shows transactions involving Customer B and the securities

of Company B:

              Deposited      Deposit      SAR Filed     Liquidated   Liquidation
 Date                                                                                 Exhibit
               Shares         Value       on Deposit      Shares        Value
4/25/14        802,139      $21,577.54                                                  50
                                           SAR filed                                    50
5/15/14                                     on 4/25
                                            deposit
6/12/14       2,679,245     $23,041.00                                                  51
6/18/14       4,081,633     $32,653.00                                                  52
                                           SAR filed                                    51
7/07/14                                     on 6/12
                                            deposit
                                           SAR filed                                    52
7/14/14                                     on 6/18
                                            deposit
7/14/14       6,333,333     $63,966.00                                                  53
7/15/14       5,090,476     $23,925.00                                                  54
7/15/14                                                 6,333,333     $30,210.00        49
7/17/14                                                 1,283,000     $5,132.00         49
7/18/14                                                 2,090,500     $7,588.52         49
                                           SAR filed                                    53
8/08/14                                     on 7/14
                                            deposit
                                           SAR filed                                    54
8/12/14                                     on 7/15
                                            deposit
8/13/14                                                 6,056,250     $10,901.25        49
8/18/14                                                 6,187,400     $8,352.99         49

        65.    The following table shows transactions involving Customer C and the securities

of Company C:

              Deposited      Deposit      SAR Filed     Liquidated   Liquidation
 Date                                                                                 Exhibit
                Shares        Value       on Deposit      Shares        Value
9/18/13       14,553,571    $59,669.00                                                  56
9/19/13                                                 2,791,300      $6,450.69        55
9/23/13                                                 4,914,460      $7,322.55        55
9/24/13                                                 5,960,311      $8,284.83        55
9/27/13       10,915,179    $19,647.00                                                  57

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               Deposited          Deposit    SAR Filed    Liquidated   Liquidation
  Date                                                                                   Exhibit
                Shares            Value      on Deposit     Shares        Value
                                              SAR filed                                    56
9/28/13                                        on 9/18
                                               deposit
                                              SAR filed                                    57
10/5/13                                        on 9/27
                                               deposit
10/16/13                                                   5,627,472    $6,173.34          55

         66.     The following table shows illustrative Late SARs:

                                            30 Calendar
  Sample                                     Days from
 Late SAR          Transaction Date         Transaction   SAR Date      Days Late        Exhibit
     1                  9/02/11              10/02/11      4/30/12         211             58
     2                  9/07/11              10/07/11      4/30/12         206             59
     3                  9/13/11              10/13/11      5/07/12         207             60
     4                  9/15/11              10/15/11      5/07/12         205             61
     5                  9/28/11              10/28/11      5/04/12         189             62

         67.     Five samples of SARs for which Alpine failed to maintain supporting

documentation that are dated within the previous five years include: Exs. 63 (SAR date

10/30/13); 64 (SAR date 4/30/15); 65 (SAR date 3/08/14); 66 (SAR date 4/10/15); and 67 (SAR

date 9/15/14).

         Respectfully submitted this 6th day of December, 2017.


                                               Isl Terry R. Miller
                                               Zachary T. Carlyle (pro hac)
                                               Terry R. Miller (pro hac)
                                               Attorneys for Plaintiff
                                               UNITED STATES SECURITIES AND
                                               EXCHANGE COMMISSION
                                               1961 Stout Street, 17th Floor
                                               Denver, Colorado 80294
                                               (303) 844-1000

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                               CERTIFICATE OF SERVICE

       I certify that on December 6, 2017, a copy of the foregoing document was served via

email upon the following:

       Brent R. Baker
       Aaron D. Lebenta
       Jonathan D. Bletzacker
       CLYDE SNOW & SESSIONS
       One Utah Center, 13th Floor
       201 South Main Street
       Salt Lake City, Utah 84111-2216

       Maranda E. Fritz
       Thompson Hine LLP (NYC)
       335 Madison Avenue, 12th Floor
       NewYork,NY 10017

       Counsel for Alpine Securities Corporation

                                                   Isl Marla J. Pinkston




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